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Attorneys for Plaintiffs
Erick and Claudia Moreno

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

ERICK AND CLAUDIA MORENO, Case No.: 2:20-cv-04944-RGK-JC
Plaintiffs,
BRQLOSER] ORDER [36]
VS.
EQUIFAX INFORMATION
SERVICES, LLC., et. al.
Defendants.

 

 

PPRQROSEDR] ORDER
Pursuant to the stipulation of the Parties, Defendants Adir International, LLC
and Curacao, LTD are dismissed with prejudice and plaintiffs Erick and Claudia
Moreno and Defendants Adir International, LLC, and Curacao, LTD shall bear their

own attorneys’ fees and costs.
As no defendants remain, the Clerk shall close this action.

IT IS SO ORDERED.

DATED: October 16, 2020 9
Hon. R947 GARY KI.LAl SNER

UNITED STATES DISTRICT JUDGE

 

}OROORRER] ORDER

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